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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION
                                      www.flsb.uscourts.gov



    In re:                                                     Chapter 11

    SHIFTPIXY, INC. et, al.1                                   Case No. 24-21209-LMI

          Debtors.                                             (Jointly Administered)
    _______________________________/

       EXPEDITED MOTION OF THE DEBTORS FOR THE ENTRY OF AN ORDER
        CONVERTING THE DEBTORS’ CHAPTER 11 CASES TO CASES UNDER
     CHAPTER 7 OF THE BANKRUPTCY CODE UPON THE CLOSING OF THE SALE

                    STATEMENT OF EXIGENT CIRCUMSTANCES: The
                    Debtors respectfully request that the Court consider this motion
                    on December 16, 2024, at 9:30 a.m. At that time the Court will
                    consider the approval of the sale of the Debtor’s remaining
                    business assets to the winner of the auction. As soon as that sale
                    closes, the only remaining assets of the Debtors will be potential
                    litigation claims. It is more efficient and appropriate for those
                    claims to be reviewed and pursued by a chapter 7 trustee.
                    Accordingly, the Debtors request that the Court consider this
                    matter on an expedited basis to avoid the unnecessary
                    administrative expense of remaining in Chapter 11. The office
                    of the United States Trustee does not oppose the relief requested,
                    however, it is still reviewing the proposed order and the carve-
                    out. The Department of Justice on behalf of the Internal
                    Revenue Service, is still considering the requested relief herein.

             The above-captioned debtors and debtors-in-possession (collectively, the “Debtors”), by

and through their proposed undersigned counsel, file this application (the “Application”), seeking

a) the entry of an order, substantially in the form attached hereto as Exhibit A (the “Conversion



1
 The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management, Inc.
The address of the Debtors is 1401 NW 25th Street, Miami, FL 33142.
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Order”), converting the Debtors’ chapter 11 cases to cases under chapter 7 of the Bankruptcy Code

once the Sale (defined below) closes, and respectfully state as follows:

                                  JURISDICTION AND VENUE

       1.        The United States Bankruptcy Court for the Southern District of Florida (the

“Court”) has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157 and 1334. This

matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

       2.        Venue in this Court is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       3.        The statutory predicates for the relief requested herein are § 1112(a) of chapter 11

of title 11 of the United States Code (as amended, the “Bankruptcy Code”) and Rules 1017(f)(2)

and 9013 of the Federal Rules of Bankruptcy Procedure (as amended, the “Bankruptcy Rules”).

                                          BACKGROUND

       4.        On October 28, 2024, (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code (collectively, the “Chapter 11 Cases”).

The Chapter 11 Cases are being jointly administered under the above caption for procedural

purposes only.

       5.        No Committee has been appointed in these cases.

       6.        For a detailed description of the Debtors, the circumstances leading to the

commencement of these Chapter 11 Cases and information regarding the Debtors’ businesses and

capital structure, the Debtors respectfully refer the Court and parties in interest to the Declaration

of Jonathan Feldman in Support of Chapter 11 Petitions and First Day Pleadings Filed by Debtor

ShiftPixy, Inc.’s [ECF No. 16] (the “First Day Declaration”) which is incorporated herein by

reference.

       7.        On November 6, 2024, the Debtors sought to retain Hilco IP Services, LLC as the

intangible asset disposition agent [ECF No. 45] (the “Hilco Application”). The Court approved the

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Hilco Retention Application on November 27, 2024 [ECF No. 91].

       8.        On November 18, 2024, the Debtors filed a motion seeking approval of bidding

procedures for the sale of all or substantially all of the Debtors’ assets [ECF No. 60] (the “Bidding

Procedures Motion”) and on December 4, 2024, the Court entered an order approving the Bidding

Procedures Motion [ECF No. 97] (the “Bidding Procedures Order”), which, among other things,

set December 6, 2024, as the Final Bid Deadline.

       9.        On December 10, 2024, the Debtors, led by Hilco IP Services, LLC, conducted an

auction for the assets of the Debtors, to be sold pursuant to the Bidding Procedures Order.

       10.       G3 Business Services LLC (‘Winning Bidder”) was selected by the Chief

Restructuring Officer as providing the highest and best bid of $1,850,000.00 [ECF No.106] (the

“Auction Notice”).

       11.       The Debtors are seeking approval of the sale to the Winning Bidder at the Sale

Hearing on December 16, 2024, at 9:30 a.m (the “Sale”).

       12.       The Sale is expected to close on or before December 19, 2024.

       13.       Separately, on November 27, 2024 the Court entered its Order Granting Debtor's

Expedited Application to Employ Eric Rubin and Moecker Auctions, Inc. as Auctioneer; Approving

Competitive Bidding and Sale Procedures for the Sale of Assets Owned by the Debtors Wholly

Owned Subsidiary; Scheduling Dates to Conduct Sale; Approving the Form and Manner of

Notices, and Granting Related Relief [ECF No. 90] (“Moecker Auction Order”).

       14.       On December 5, 2024, the Debtors held the auction as required by the Moecker

Auction Order.

       15.       As noted in the Preliminary Status from Moecker Auction [ECF No. 107], Moecker

has so far collected $521,050.60 of the $541,570.60 that was bid at the auction it conducted.



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                                       RELIEF REQUESTED

        16.      By this Motion, the Debtors seek the entry of the Conversion Order upon the filing

of the Closing Date Notice, and pursuant to section 1112(a) of the Bankruptcy Code and

Bankruptcy Rule 1017(f)(2), converting these Chapter 11 Cases to cases under chapter 7 of the

Bankruptcy Code.

                     THE REQUESTED RELIEF SHOULD BE GRANTED

        17.      Conversion of a chapter 11 case is covered by section 1112(a) of the Bankruptcy

Code which states, in full, as follows:

                 The debtor may convert a case under this chapter to a case under chapter 7 of this

title unless –

                 (1). the debtor is not a debtor in possession;

                 (2). the case originally was commenced as an involuntary case under this chapter;
                 or

                 (3). the case was converted to a case under this chapter other than on the debtor’s
                 request.

        11 U.S.C. § 1112(a).

        18.      Section 1112(a) gives a debtor the absolute right to convert a chapter 11 case to a

case under chapter 7, provided that the three limitations set forth above in § 1112(a)(1)-(3) do not

apply. See, e.g., In re Texas Extrusion Corp., 844 F.2d 1142, 1161 (5th Cir. 1988) (“[a] debtor has

the absolute right to convert his or her Chapter 11 case to a Chapter 7 case…”); In re Garcia, 606

B.R. 98, 108 (Bankr. D. N.M. 2019) (stating rule and granting debtor’s motion to convert chapter

11 case to a case under chapter 7 where a favorable sale involving the debtor’s assets no longer

appeared likely) (quoting 7 COLLIER ON BANKRUPTCY ¶ 1112.02 (16th ed.)); In re Schuler,

119 B.R. 191, 192 (Bankr. W.D. Mo. 1990) (stating rule and legislative history); In re Marill Alarm



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Systems, Inc., 100 B.R. 606, 607 (Bankr. S.D. Fla. 1989) (stating rule); In re Dieckhaus Stationers

of King of Prussia, Inc., 73 B.R. 969, 971 (Bankr. E.D. Pa. 1987) (same).

         19.      As a threshold matter, none of the three limitations on a debtor’s right to convert

that are set forth in § 1112(a)(1)-(3) are present in the Debtors’ cases because (i) the Debtors are

debtors-in-possession, (ii) each of the Chapter 11 Cases was commenced by the filing of a

voluntary petition for relief, and (iii) there have been no prior conversions of the Chapter 11 Cases.

Accordingly, the Debtors respectfully submit that they have satisfied the statutory standard for

conversion of the Chapter 11 Cases from chapter 11 to cases under chapter 7 of the Bankruptcy

Code and the Court should grant the relief requested in this Motion.

         20.      Additionally, as the Court and parties-in-interest are aware, the Debtors filed these

Chapter 11 Cases to preserve their business as a going-concern operation through pursuing a sale

or sales of some or all the Debtors’ assets pursuant to section 363 of the Bankruptcy Code.

         21.      Through the efforts, led by the Chief Restructuring Officer, and supported by Hilco

IP Services LLC, Moecker Auctions, and Debtor’s Counsel, the Debtors sold their assets. The

proceeds from both Moecker Auction and the Sale are expected to be $2,391,570.60. 2

         22.      The Debtors no longer have an operating business to rehabilitate, and the Debtors

believe that a chapter 7 trustee could oversee the collection and monetization of the Debtors’

remaining assets (principally potential litigation claims), all of which are subject to the lien of the

Internal Revenue Service and to make distributions to creditors pursuant to the statutory priority

scheme of the Bankruptcy Code. However, the Debtors request that the CRO be authorized to pay




2
 This is the gross sale amount. Hilco IP Services is entitled to fee under ECF No. 91 for its fee (15% of the sale price)
and reimbursement of expenses.

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of the CRO and DGIM Law, PLLC’s fees and expenses. 3 For these reasons, the Debtors believe

that conversion of the Chapter 11 cases from chapter 11 to chapter 7 will inure to the benefit of the

Debtors’ creditors and all other parties in interest in these bankruptcy cases.

         23.      The Debtors proceed with this Motion seeking the entry of the Conversion Order

upon the filing of the Closing Date Notice, substantially in the form attached hereto as Exhibit A,

converting the Chapter 11 Cases to cases under chapter 7 of the Bankruptcy Code.

         WHEREFORE, for the reasons set forth herein, the Debtors respectfully request the Court

(i) to grant this Motion, (ii) to enter the Order upon the filing of the Closing Date Notice, in

substantially the same form attached hereto as Exhibit A, converting these Chapter 11 Cases to

cases under chapter 7 of the Bankruptcy Code, and (iii) to grant any such other relief as may be

appropriate under the circumstances.

Dated December 11, 2024.

                                                      DGIM Law, PLLC
                                                      Counsel for the Debtors
                                                      2875 NE 191st Street, Suite 705
                                                      Aventura, FL 33180
                                                      Phone: (305) 763-8708

                                                      /s/ Isaac Marcushamer
                                                      Isaac Marcushamer, Esq.
                                                      Florida Bar No. 0060373
                                                      Email: isaac@dgimlaw.com
                                                      Monique D. Hayes, Esq.
                                                      Florida Bar No. 843571
                                                      Email: monique@dgimlaw.com




3
  The CRO and DGIM Law, PLLC are working with the Department of Justice regarding an acceptable carve-out for
the chapter 11 administrative expenses. The sum requested by the CRO for fees is $260,000.00 combined for DGIM
Law, PLLC ($215,000) and the CRO ($45,000), which will include all time approved in final fee applications to be
filed separately. This would include future time to ensure an orderly transition to a Chapter 7 Trustee. Expenses would
be in addition to the $260,000.00 and would also be subject to the Court’s approval.

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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the Motion was served via CM/ECF Notification

and/or U.S. Mail to all parties on the attached service list on this 11 th day of December, 2024.



                                              /s/ Isaac Marcushamer
                                              Isaac Marcushamer, Esq.
                                              Florida Bar No. 0060373




                                                  7
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Label Matrix for local noticing                Balanced Management, LLC                        Century Tacos, Inc.
113C-1                                         1800 Second St.                                 c/o Leyza B. Florin, Esq.
Case 24-21209-LMI                              Unit 603                                        Sequor Law
Southern District of Florida                   Sarasota, fl 34236-5990                         1111 Brickell Avenue
Miami                                                                                          Suite 1250
Mon Dec 2 14:16:19 EST 2024                                                                    Miami, FL 33131-3133
Foundry ASVRF Sawgrass, LLC                    Golden Taco, Inc.                               Los Angeles West Taco, Inc.
c/o Michael S. Provenzale                      c/o Leyza B. Florin, Esq.                       c/o Leyza B. Florin, Esq.
P.O. BOX 2809                                  Sequor Law                                      Sequor Law
ORLANDO, FL 32802-2809                         1111 Brickell Avenue                            1111 Brickell Avenue
                                               Suite 1250                                      Suite 1250
                                               Miami, FL 33131-3133                            Miami, FL 33131-3133
Pacific Coast Taco, Inc.                       ReThink Human Capital Management, Inc           ShiftPixy Staffing, Inc
c/o Leyza B. Florin, Esq.                      4101 NW 25th Street                             4101 NW 25th Street
Sequor Law                                     Miami, FL 33142-6725                            Miami, FL 33142-6725
1111 Brickell Avenue
Suite 1250
Miami, FL 33131-3133
ShiftPixy, Inc.                                Tacos 2000, Inc.                                (p)INTERNAL REVENUE SERVICE
4101 NW 25 Street                              c/o Leyza B. Florin, Esq.                       CENTRALIZED INSOLVENCY OPERATIONS
Miami, FL 33142-6725                           Sequor Law                                      PO BOX 7346
                                               1111 Brickell Avenue                            PHILADELPHIA PA 19101-7346
                                               Suite 1250
                                               Miami, FL 33131-3133
4te Inc                                        A & A Ornamental, Inc                           ADP/MASTER TAX
PO Box 4048,                                   18731 SW 87th Ave                               MasterTax, LLC
Mission Viejo, CA, 92690-4048                  Cutler Bay, FL 33157-7224                       111 W. Rio Salado Parkway,
                                                                                               Tempe, AZ 85281-2878


AGP/ALLIANCE GLOBAL PARTNERS                   ALLIED SPORTS LLC                               AMWINS GROUP BENEFITS
590 MADISON AVE,                               PO BOX 845785                                   PO BOX 71051,
NEW YORK, NY 10022-2524                        BOSTON, MA, 02284-5785                          CHARLOTTE, NC, 28272-1051



ANKURA                                         ARRAY                                           ARTHUR J GALLAGHER RK MGMT SRV
201 E WASHINGTON ST, SUITE 1700,               624 S AUSTIN AVE,                               PO BOX 532143,
PHOENIX, AZ 85004-2245                         SUITE 230,                                      ATLANTA, GA 30353-2143
                                               GEORGETOWN, TX, 78626-5758


AT&T                                           Alpha Capital Anstalt                           AmWINS Specialty Casualty Solutions
PO Box 6463,                                   c/o LH Financial                                10 S LaSalle St, Suite 1500,
Carol Stream, IL, 60197-6463                   510 Madison Avenue                              Chicago, IL 60603-1077
                                               14th Floor
                                               New York, NY 10022-5730

American Recruiting & Consulting Group         AppsFlyer                                       Arizona Department of Economic Security
2200 N Commerce Pkwy, Suite 200,               100 1 ST St, 25th FL,                           PO Box 6028, Mail Drop 5881,
Weston, FL 33326-3258                          San Francisco, CA 94105-3082                    Phoenix, AZ 85005-6028



Arizona Department of Revenue                  Arondight Advisors                              Asurint
PO Box 29085,                                  120 Wall St,                                    File 2418,
Phoenix, AZ 85038-9085                         New York, New York 10005-3904                   1801 W Olympic Blvd,
                                                                                               Pasadena, CA 91199-0001
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Audio Video Cameras Serv Corp                  BAKER TILLY US, LLP                                BEST OFFICE COFFEE SERVICES
AUDIO VIDEO CAMERA & SERVICES CORP.            PO Box 511563,                                     13130 SW 130 TERRACE,
3600 W PALM CT, HIALEAH, FL 33012              Los Angeles, CA, 90051-8118                        MIAMI, FL 33186-5895



BREX CC                                        BREX GHOST KITCHEN                                 BTERREL GROUP
Brex Payments LLC                              650 S 500 W Suite 300                              4324 Mapleshade Ln, Suite 103,
650 S 500 W., Suite 300,                       Salt Lake City, UT 84101-2891                      Plano, TX 75093-0050
Salt Lake City, UT 84101-2891


BUSINESS WIRE DEPT 34182                       BairesDev LLC                                      BairesDev LLC
PO BOX 39000,                                  800 W El Camino                                    c/o Tyler R. Dowdall, Esq.,
SAN FRANCISCO, CA 94139-0001                   Mountain View, CA 94040-2567                       Tarter Krinsky & Drogin, LLP,
                                                                                                  1925 Century Park East, Suite 400N,
                                                                                                  Los Angeles, California 90067-2701

Balanced Management                            Balanced Management, LLC                           Balanced Management, LLC
Registered Agents Inc.                         10880 Wilshire Blvd. 19th Floor                    1682 Pintail Way
7533 S. Center View CT                         Los Angeles, CA 90024-4101                         Sarasota, FL 34231-9136
Ste R
West Jordan, UT 84084-5526

Balanced Management, LLC                       Balanced Management, LLC                           Balanced Management, LLC
26 S. Rio Grande St. #2072                     3017 Bolling Way NE                                315 E 62 floor 3
Salt Lake City Utah 84101-1179                 Atlanta, GA 30305-2205                             New York, NY 10065-7767



Balanced Management, LLC                       Berkowitz Pollack Brant Advisors CPA               Bright Labs Services LLC
441 Lexington Ave                              PO Box 735244,                                     485 Lexington Ave 10th FL,
18th Floor                                     Dallas, TX, 75373-5244                             New York, NY, 10017-2619
New York, NY 10017-3924


(p)BROADRIDGE FINANCIAL SOLUTIONS              Broadridge ICS                                     CDW DIRECT
1155 LONG ISLAND AVENUE                        PO BOX 416423,                                     200 N. MILWAUKEE AVE,
EDGEWOOD NY 11717-8309                         BOSTON, MA, 02241-6423                             VERNON HILLS, IL 60061-1577



CINTAS                                         CK Administrative Services LLC                     CT Corporation
PO BOX 631025                                  777 S Figueroa Street,                             PO Box 4349
CINCINNATI, OH, 45263-1025                     Suite 4100                                         Carol Stream, IL 60197-4349
                                               Los Angeles, CA 90017-5841


CUSIP GLOBAL SERVICES                          Calabrese Consulting LLC                           California Employment Development Department
55 WATERS ST,                                  24 North King Street,                              3321 Power Inn Road,
NEW YORK, NY 10041-0016                        Malverne, NY 11565-1002                            Suite 140, #759
                                                                                                  Sacramento, CA 95826-3893


California Employment Development Department   California Employment Development Department       Call & Jensen
PO Box 989061,                                 PO Box 997418 Sacramento, CA 95899                 810 Newport Center Dr
West Sacramento, CA 95798-9061                                                                    Newport Beach, CA 92660
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Call & Jensen                                Chirstopher A Sebes                                Christopher A Sebes
810 Newport Center Dr, Suite 700,            5730 Claridon Drive                                5730 Claridon Drive,
Newport Beach, CA, 92660                     Naples, FL 34113-8385                              Naples, FL 34113-8385



Cloudflare, Inc                              DC Office of Tax and Revenue- Compliance Adm       DGA SECURITY
Mail Code: 5267,                             1101 4th Street SW,                                429 WST 53RD STREET
PO Box 660367,                               Washington, DC 20024-4457                          NEW YORK, NY 10019-5791
Dallas, TX, 75266-0367


Discount Edgar                               Dominion Capital, LLC                              Doug Greene
125 Wolf Road, Suite 315,                    341 West 38th Street                               6805 Ingalls Court,
Albany, NY 12205-1221                        Suite 800                                          Galena, OH, 43021
                                             New York, NY 10018-9686                            ipCapital Group Inc
                                                                                                426 Industrial Ave, Suite 150,
                                                                                                Willston, VT, 05495-4459
Drexel Hamilton, LLC                         EL TORO LLC                                        ELITE AUDIO VIDEO OF SO FL
77 Water ST                                  552 E MARKET STREET,                               12241 SW 185TH ST,
New York, NY 10005-4420                      LOUISVILLE, KY 40202-7111                          MIAMI, FL 33177-3181



ELITE BUSINESS VENTURES                      ENCORE                                             EQUISOLVE
PO BOX 6510,                                 EVENT TECHNOL CEASARS PALACE,                      3500 SW Corporate Pkwy,
PASADENA, CA 91109-6500                      8850 W SUNSET RD, 3RD FL,                          Palm City, FL 34990-8185
                                             LAS VEGAS, NV 89148-4897


Eduardo J. Dominguez                         Email Outreach Company                             Empire Marketing Ventures LLC
5778 Devonshire Blvd.                        651 N Broad St, Suite 206,                         383 Madison Ave,
Miami, FL 33155-4062                         Middletown, Delaware 19709-6402                    New York, NY 10017-3217



Employment Development Department            Enlyte                                             FL POWER HOUSE
722 Capitol Mall                             PO Box 88026,                                      2310 NW 102ND PLACE
Sacramento, CA 95814-4703                    Chicago, IL 60680-1026                             DORAL, FL 33172-2517



FLORIDA POWER AND LIGHT                      FLORIDA POWER AND LIGHT FPL                        FRANCHIMP LTD
21400 Powerline Road                         General Mail Facility                              Kristine M Rogalewski-Mayo
Boca Raton, FL 33433-2312                    Miami, FL 33188-0001                               18531 N Steet,
                                                                                                Scottsdale, AZ, 85255


First Impulse                                Fisher Phillps LLP                                 Fisher Phillps LLP
18 Goodyear, Suite 125,                      2050 Main St                                       2050 Main St, Suite 1000,
Irvine, CA 92618-3750                        Irvine, CA 92614-8255                              Irvine, CA 92614-8240



Florida Department of Revenue                Florida Department of Revenue                      Florida Department of Revenue
2450 Shumard Oak Blvd                        5050 West Tennessee Street,                        Miami Service Center
Tallahassee, FL 32399-7022                   Tallahassee, FL 32399-0100                         3750 NW 87th Avenue, Suite 300,
                                                                                                Doral, FL 33178-2430
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GITLAB INC                                     GUMMICUBE, INC                                     GUROCK
PO BOX 8244,                                   50 E ST JOHN ST,                                   0801 N Mopac Expressway,
PASADENA, CA, 91109-8244                       SAN JOSE, CA 95112-5596                            Building 1, Suite 100,
                                                                                                  Austin, TX, 78759


Gallagher Bassett                              Gentry Partnership In                              Gentry Partnership, Inc
Services, Inc                                  11523 Palmbrush Trail, Suite 193,                  11523 Palmbrush Trail
15763 Collections                              Lakewood Ranch, FL 34202-2917                      Bradenton, FL 34202-2917
Center Drive,
Chicago, IL 60693-0001

Gordon Rees Scully Mansukhani, LLP             Grasso Global Inc                                  HEISE SUAREZ MELVILLE, P.A.
275 Battery Street, 20th Fl,                   Levinson Arshonsky Kurtz & Komsky LLP              2990 Ponce de Leon Blvd, Suite 300,
San Francisco, CA 94111-3367                   15303 Ventura Blvd, Suite 1650,                    Coral Gables, FL 33134-6803
                                               Sherman Oaks, CA 91403-6620


HUB International Insurance Services Inc       Huggins Actuarial Services Inc                     ICR LLC
16030 Venture Blvd,                            111 Veterans Square, Third Floor,                  761 Main Ave
Suite 500,                                     Media, PA 19063-3292                               Norwalk, CT 06851-1080
Encino, CA 91436-2766


INTRADO DIGITAL MEDIA, LLC                     IOWA Workforce Development Unemployment Insu       IPFS Corporation
C/O INTRADO CORPORATION,                       1000 E Grand Avenue,                               3522 Thomasville Rd
PO BOX 74007143,                               Des Moines, IA 50319-0220                          Tallahassee, FL 32309-3488
CHICAGO, IL, 60674-7143


IPFS Corporation                               IPFS Corporation 3522                              IRS
3522 Thomasville Rd,                           Thomasville Rd                                     Worland, WY 82401
Suite 400,                                     Tallahassee, FL 32309
Tallahassee, FL 32309-3488


Idaho Department of Labor- Collection Enforc   Idaho State Tax Commission                         Idaho State Tax Commission
Unit 317 W Main Street,                        11321 W Chinden Blvd,                              PO Box 36,
Boise, ID 83735-0001                           Boise ID 83714-1021                                Boise, ID 83722-0036



Illinois Department of Employment Security     (p)ILLINOIS DEPARTMENT OF REVENUE                  Innovative Coverage Concepts LLC
Revenue Collection Enforcement Unit            BANKRUPTCY UNIT                                    c/o Arthur J Gallagher & Co,
33 S State Street, 10th Floor,                 PO BOX 19035                                       200 Jefferson Park,
Chicago, IL 60603-2808                         SPRINGFIELD IL 62794-9035                          Ste 110 - 200,
                                                                                                  Whippany, NJ 07981-1076

IntacctDept 3237,                              Internal Revenue Service                           Internal Revenue Service Centralized Insolve
PO Box 123237,                                 Centralized Insolvency Operation                   PO Box 7317
Dallas, TX, 75312-3237                         PO Box 7317                                        Philadelphia, PA 19101-7317
                                               Philadelphia, PA 19101-7317


J David Tax Law LLC                            JOBOT, LLC                                         Judith Simpson
7077 Bonneval Road, Suite 200,                 18575 JAMBOREE RD, SUITE 600,                      1939 Festival Court
Jacksonville, FL 32216-6073                    IRVINE, CA 92612-2554                              Joliet, IL 60435
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KARLINSKY LLC                                  KPA SERVICES LL                                Kansas Department of Revenue
103 Mountain Rd                                PO Box 83301,                                  Division of Taxation
Cornwall On Hudson, NY 12520-1802              Woburn, MA, 01813-3301                         12 SE 10th Avenue,
                                                                                              Topeka KS 66625-0001


Kansas Department of RevenueDivision of Taxa   Kenneth Weaver                                 Klein & Wilson
PO Box 3506, Avenue,                           901 Riverside Drive                            4770 Von Karman,
Topeka, KS 66601-3506                          Old Hickory, TN 37138-3150                     Newport Beach, CA 92660-2123



LANIER PARKING                                 LEAPROS WORKFORCE SOLUTIONS                    LOEB & LOEB LLP
647 BRICKELL KEY DR, SUITE 1,                  PO BOX 432,                                    345 PARK AVE,
MIAMI, FL 33131-2622                           HUNTINGTON BEACH, CA 92648-0432                NEW YORK, NY 10154-1895



Lamb McErlane PC                               Launay Patrice, PEJ CONSULTING                 Lemke Mediation
24 E. Market St, PO Box 565,                   1560 Sawgrass Corporate Pkwy,                  515 S Flower St, Suite 1800,
West Chester, PA 19381-0565                    4th FL Suite 423-C,                            Los Angeles, CA 90071-2231
                                               Sunrise, FL 33323-2858


LexisNexis                                     Lowenstein Sandler LLP                         Lowenstein Sandler LLP
28544 Network Place,                           Attn: William B. Farrell                       One Lowenstein Drive
Chicago, IL, 60673-1285                        One Lowenstein Drive                           Roseland, NJ 07068-1791
                                               Roseland, NJ 07068-1791


Lowenstein Sandler LLP                         Lydecker LLP                                   MEF I, LP
One Lowenstein Drive,                          1221 Brickell Ave, 19th FL,                    40 Wall Street
Roseland, New Jersey 07068-1791                Miami, FL 33131-3240                           New York, NY 10005-1304



MELTWATER NEWS U                               MILNER - USAGE                                 MILNER INC
Dept LA 23721,                                 PO BOX 923197,                                 PO BOX 105743
Pasadena, CA, 91185-3721                       NORCROSS, GA, 30010-3197                       ATANTA, GA, 30348-5743



MILNER INC - BRICKELL                          MINERAL INC                                    MINTZ
PO BOX 41602,                                  6701 Koll Center Parkway, Suite 430,           666 Third Avenue
PHILADELPHIA, PA, 19101-1602                   PLEASANTON, CA 94566-8065                      New York, NY 10017-4011



MINTZ                                          Marcum & Kliegman LLP                          Marcum & Kliegman LLP
Chrysler Center,                               750 Third Ave                                  750 Third Ave 11th FL,
666 Third Avenue,                              New York, NY 10017-2703                        New York 10017-2716
New York, NY 10017-4011


Mark , Your Extended Office                    Marlins Baseball                               Marquis Aurbach Chtd
No. 128 SRP Koil Street South,                 501 Marlins Way,                               10001 Park Run Drive,
Jawahar Nagar, Chennai, 600 082, India         Miami, FL 33125-1121                           Las Vegas, NV 89145-8857
                                Case 24-21209-LMI       Doc 109       Filed 12/11/24          Page 13 of 22
Martin Scott                                   Massachusetts Department of Revenue                Meadows Collier Attorney At Law
19180 Skyridge Circle,                         100 Cambridge Street,                              901 Main Street, Suite 3700,
Boca Raton, FL 33498-6212                      Boston, MA 02204-0001                              Dallas, TX 75202-3742



Media Network Consultants LLC                  (p)MEDIANT COMMUNICATIONS INC                      MetLife Group Benefits
13245 Lower Harden Ave                         ATTN ATTN JOSEPH SIMONOWICH                        PO Box 804466,
Orlando, FL 32827-7221                         400 REGENCY FOREST DRIVE                           Kansas City, MO,
                                               SUITE 200                                          64180-4466
                                               CARY NC 27518-7703

Miami-Dade Office of the Tax Collector         Michigan Department of Treasury                    Michigan Department of Treasury
Tangible Personal Property                     City Tax Administration                            PO Box 30756,
200 NW 2nd Avenue, Miami, FL 33128             P.O. Box 30756                                     Lansing, MI 48909-8256
                                               Lansing, MI 48909-8256


Minesota Deptment of Revenue                   Missouri Department of Revenue                     Morris, Nichols, Arsht & Tunnell LLP
Collection Division                            Taxation Division                                  1201 N Market St, 16th FL, PO Box 1347,
PO Box 64651,                                  PO Box 3375,                                       Wilmington, DE, 19899-1347
Saint Paul, MN 55164-0651                      Jefferson City, MO 65102-3375


NASDAQ                                         NATPAY                                             NOW CFO NEWPORT BEACH
51 West 42nd Street, Floors 26, 27, 28,        3415 W Cypress St,                                 5251 S Green Street,
New York, NY 10036                             Tampa, FL 33607-5007                               Suite 350,
                                                                                                  Murray, UT, 84123


Nasdaq Corporate                               National Payment Corporation                       Navarro Hernandez P
Solutions, LLC                                 3415 W Cypress Street                              66 W Flagler St 6th FL,
PO Box 780700,                                 Tampa, FL 33607-5007                               Miami, FL 33130-1884
Philadelphia, PA,
19178-0700

New Benefits                                   New Jersey Department of Labor and Workforce       New Jersey Department of Labor and Workforce
Alexandra Gonzalez Zabala                      Delinquency Unit                                   Division of Employer Accounts
Judith Simpson                                 PO Box 932,                                        PO Box 059,
1839 Festival Court,                           Trenton, NJ 08625-0932                             Trenton, NJ 08646-0001
Joliet, IL 60435-3785

New Jersey Department of the Treasury          New Mexico Department of Workforce Solutions       New Mexico Taxation & Revenue
Division of Taxation                           PO Box 1928,                                       PO Box 25128,
PO Box 1009,                                   Albuquerque, NM 87103-1928                         Santa Fe, NM 87504-5128
Moorsetown, NJ 08057-0909


New York Department of Labor- Unemployment I   New York Department of Labor- Unemployment I       New York Department of Labor- Unemployment I
Enforcement Unit                               PO Box 15012                                       PO Box 4301
PO Box 4305                                    Albany, NY 12212-5012                              Brimingham, NY 13902-4301
Binghamton, NY 13902-4305


New York Department of Taxation and Finance    New York Employment Contributions and Taxes        New York State Department of Taxation & Fina
Civil Enforecement Division - Offset Uni       PO Box 4119                                        Bankruptcy Section
Albany NY 12227-0001                           Binghamton, NY 13902-4119                          P O Box 5300
                                                                                                  Albany, NY 12205-0300
                                  Case 24-21209-LMI     Doc 109          Filed 12/11/24   Page 14 of 22
Norman S Gerstein PA                           (p)OKTA INC                                    OSBORN MALEDO
5966 S. Dixie Highway, Suite 300,              100 FIRST STREET                               2929 N CENTRAL AVE, 21 FLOOR,
Miami, FL 33143-5177                           SUITE 600                                      PHOENIX, AZ 85012-2782
                                               SAN FRANCISCO CA 94105-3513


Office of the US Trustee                       Okin Pest Control                              Oklahoma Tax Commission
51 S.W. 1st Ave.                               2170 Piedmont Rd NE                            Oklahoma City, OK 73194-0001
Suite 1204                                     Atlanta, GA, 30324-4135
Miami, FL 33130-1614


Oppenheim Insurance Broker Inc.                Osborn Maledon                                 Osher Capital Partners, LLC
23742 Lyons Ave,                               2929 N Central Ave                             c/o LH Financial
PO Box 220957,                                 Phoenix, AZ 85012-2793                         510 Madison Ave
Newhall, CA 91322-0957                                                                        14th Floor
                                                                                              New York, NY 10022-5730

PETTIT KOHN                                    Payne & Fears LLP                              Payne & Fears LLP
11622 EL CAMINO REAL, SUITE 300,               4 Park Plaza                                   4 Park Plaza, Suite 1100,
SAN DIEGO, CA 92130-2051                       Irvine, CA 92614-8550                          Irvine, CA 92614-8550



Pennsylvania Department of Labor & Industry    Philadelphia Ins Co                            Pitney Bowes
Office of Unemployment Compensation Tax        PO BOX 70251,                                  PO Box 371874,
651 Boas Street, Room 915,                     PHILADELPHIA, PA, 19176-0251                   Pittsburgh, PA, 15250-7874
Harrisburg, PA 17121-0751


Plant Care                                     Premier Produce                                Prequin Limited
PO Box 50115,                                  2672 SW 36th St                                1st Floor, Verde, 10 Bressenden Place,
Lighthouse Point, FL 33074-0115                Dania Beach, FL 33312-5005                     London, United Kingdom,
                                                                                              SW1E 5DH, United Kingdom


PrismHR                                        Professional Window Tinters                    QB Animation Inc
PO BOX 844768,                                 7385 Bird Rd (40th St)                         320 Lighthouse Drive,
Boston, MA 02284-4759                          Miami, FL, 33155                               Palm Beach Gardens, FL 33410-4835



RB INTERNATIONAL                               RUNWAY 1 LLC                                   Restaurant Finance Monitor
SUPPLY CORP                                    250 Greenpoint Ave,                            2808 Anthony Lane South,
7265 NW 44TH ST                                Brooklyn, NY 11222-2493                        Minneapolis, MN 55418-3234
MIAMI, FL 33166-6418


Richard DeBeikes                               Rose, Snyder & Jacobs LLP                      Rose, Snyder & Jacobs LLP
23241 Ventura Blvd Ste 224C,                   15821 Ventura Blvd                             15821 Ventura Blvd, Suite 490,
Woodland Hills, CA 91364-1042                  Encino, CA 91436-4778                          Encino, CA 91436-4778



Roxborough Pomerance NYE & Adreani             Roxborough Pomerance NYE & Adreani             SICHENZIA ROSS FERENCE LLP
5820 Canoga Ave                                5820 Canoga Ave, Suite 250,                    1185 AVE OF THE AMERICAS,
Woodland Hills, CA 91367-6549                  Woodland Hills, CA 91367-6549                  31ST FLOOR,
                                                                                              NEW YORK, NY 10036-2612
                                Case 24-21209-LMI     Doc 109         Filed 12/11/24   Page 15 of 22
STERICYCLE                                   SUNZ INSURANCE                                Say Technologies LLC
28883 NETWORK PLACE,                         1301 6th Ave W,                               85 Willow Road
CHICAGO, IL, 60673-1288                      Bradenton, FL 34205-7410                      Menlo Park, CA 94025-3656



SearchGeeks                                  Securities and Exchange Commission            Securities and Exchange Commission
701 Palomar Airport Rd. #170,                100 F Street, NE,                             801 Brickell Avenue
Carlsbad CA 92011-1045                       Washington, DC 20549-2001                     Suite 1950
                                                                                           Miami, FL 33131-4901


Slavic 401K                                  Slavic Integrated Administration              SolutionCore Inc
1075 Broken Sound Pkwy NW, Suite 100,        1075 NW Brkn Snd Pkway, Ste 100,              9742 Hibiscus Drive,
Boca Raton, FL, 33487-3540                   Boca Raton, FL,                               Garden Grove, CA 92841-1717
                                             33487-3540


Specialty Marketing Consulting Inc           Sperling & Slater PC                          Sports1ternship, LLC
c/o Kimberly Peters,                         55 West Monroe Street, Suite 3200,            23 Rancho Circle,
PO Box 6700,                                 Chicago, IL 60603-5035                        Lake Forest, CA 92630-8324
Pine Mountain Club, CA 93222-6700


Sportslternship, LLC                         Staff Benefits                                Stifel Financial
23 Rancho Circle                             Management, Inc                               510 N. Broadway
Lake Forest, CA 92630-8324                   2307 FENTON PARKWAY #107-126,                 Saint Louis, MO 63102
                                             San Diego, CA 92108-4746


SullivanCurtisMonroe Ins Serv LLC            TEKWORKS                                      TENNESSE DEPT OF REVENUE
1920 Main St, Suite 600,                     13000 Gregg Street,                           500 DEADERICK ST, ANDREW JACKSON ST OFFI
Irvine, CA 92614-7226                        Poway, CA 92064-7151                          NASHVILLE, TN 37242-0001



TMF SERVICES HONDURAS                        TRUSAIC                                       Tennessee Department of Labor & Workforce De
Colonia Lomas del Guijarro Sur,              3530 WILSIRE BLVD, SUITE 1460,                Employment Security Division,
Domicilio Alquilado, Contiguoa Plaza Fic     LOS ANGELES, CA 90010-2334                    Employer Accounts Audit
5to Nivel. Tegucigalpa M.D.C. Honduras                                                     220 French Landing Drive,
                                                                                           Nashville, TN 37243-1002

Toppan Merrill LLC                           Traliant Operating LLC                        Trenan Law
PO BOX 74007295,                             PO Box 844090,                                PO Box 1102,
CHICAGO, IL 60674-7295                       Boston, MA 02284-4090                         Tampa, FL, 33601-1102



UNITED HEALTHCARE                            US FOODS                                      VERIFONE INC
PO BOX 111111,                               PO BOX 281838                                 c/o Colliers Int’l Lease Admin,
NEW TOWN, MO, 93195-9782                     BOCA RATON, FL, 30384-1838                    301 University Ave, Ste 100,
                                                                                           Sacramento, CA 95825-5537


VERITEXT, LLC                                VIA Design Studio                             Virginia Department of Taxation
PO BOX 71303,                                103 Westward Drive                            PO Box 1115.
CHICAGO, IL, 60694-1303                      Miami, FL 33166-5257                          Richmond, VA 23218-1115
                                  Case 24-21209-LMI           Doc 109          Filed 12/11/24      Page 16 of 22
Virginia Department of Taxation                      WASTE MANAGEMENT INC FL                              WHITE & CASE
PO Box 1777,                                         8801 NW 91ST STREET,                                 SE FINANICAL CTR STE 4900,
Richmond, VA 23218-1777                              MEDLEY, FL 33178-1815                                200 S BISCAYNE BLVD,
                                                                                                          MIAMI, FL, 33131-2352


WORKIVA                                              White & Case                                         Whitney White
2900 UNIVERSITY BLVD,                                SE Financial Ctr Ste                                 100 Albert Way 08540-3202
AMES, IA 50010-8665                                  4900 Miami, FL 33131



Whitney White                                        Widgets & Web LLC                                    eFax Corporate
100 Albert Way, Apt 1417,                            19500 194th Trl,                                     C/O J2 Cloud Services LLC,
Princeton, NJ 08540-3215                             Golden Beach, FL, 33160                              PO BOX 51873,
                                                                                                          LOS ANGELES, CA, 90051-6173


nFusion Capital Finance LLC                          Daniel Gielchinsky                                   Eric Rubin
6444 Burnet Rd Unit 100,                             2875 NE 191st Street                                 Moecker Auctions Inc
Austin, TX 78757-3252                                Suite 705                                            1885 Marina Mile Blvd #103
                                                     Aventura, FL 33180-2803                              Ft. Lauderdale, FL 33315-2243


Isaac M Marcushamer Esq.                             Jonathan Feldman                                     Manny Rivera
DGIM Law, PLLC                                       2 South Biscayne Boulevard, Suite 1600               c/o Shraiberg Page P.A.
2875 NE 191st Street                                 Miami, FL 33131-1824                                 2385 NW Executive Center Dr., #300
Suite 705                                                                                                 Boca Raton, FL 33431-8530
Aventura, FL 33180-2803

Mark Absher                                          Robert Angueira                                      Scott Absher
c/o Shraiberg Page P.A.                              c/o Paul Steven Singerman                            c/o Shraiberg Page P.A.
2385 NW Executive Center Dr., #300                   Berger Singerman LLP                                 2385 NW Executive Center Dr., #300
Boca Raton, FL 33431-8530                            1450 Brickell Avenue                                 Boca Raton, FL 33431-8530
                                                     Suite 1900
                                                     Miami, FL 33131-5319


                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


United States of America Internal Revenue Se         Broadridge Financial Solutions                       (d)IRS - Department of the Treasury
c/o Raychelle A. Tasher                              1155 long Island Avanue                              Ogen, UT 84201
99 NE 4 St. # 300                                    Edgewood, NY 11717
Miami, FL 33132


Illinois Department of Revenue                       Mediant                                              (d)Mediant Communications Inc.
PO Box 19006,                                        Communications Inc.                                  400 Regency Forest Drive
Springfield, IL 62794                                PO BOX 29976,                                        Suite 200
                                                     NEW YORK, NY, 10087-9976                             Cary, NC 27518


OKTA INC
100 FIRST STREET, SUITE 600,
SAN FRANCISCO, CA, 94105
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                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Sunz Insurance Solutions, LLC                     (u)Miami                                             (d)A & A Ornamental, Inc
                                                                                                          18731 SW 87th Ave,
                                                                                                          Cutler Bay, FL 33157-7224



(d)ALLIED SPORTS LLC                                 (d)CINTAS                                            (d)CK Administrative Services LLC
PO BOX 845785,                                       PO BOX 631025,                                       777 S Figueroa Street, Suite 4100,
BOSTON, MA, 02284-5785                               CINCINNATI, OH, 45263-1025                           Los Angeles, CA 90017-5841



(d)CT Corporation                                    (d)DGA SECURITY                                      (d)FL POWER HOUSE
PO Box 4349,                                         429 WST 53RD STREET,                                 2310 NW 102ND PLACE,
Carol Stream, IL,                                    NEW YORK, NY 10019-5791                              DORAL, FL 33172-2517
60197-4349


(d)ICR LLC                                           (d)KARLINSKY LLC                                     (d)Kenneth Weaver
761 Main Ave,                                        103 Mountain Road,                                   901 Riverside Drive,
Norwalk, CT 06851-1080                               Cornwall-On-Hudson, NY 12520-1802                    Old Hickory, TN 37138-3150



(d)MILNER INC                                        (d)MILNER INC BRICKELL                               (d)MILNER USAGE
PO BOX 105743,                                       PO BOX 41602                                         PO BOX 923197
ATANTA, GA, 30348-5743                               PHILADELPHIA, PA, 19101-1602                         NORCROSS, GA, 30010-3197



(d)Media Network Consultants LLC                     (d)Premier Produce                                   (d)Professional Window Tinters
13245 Lower Harden Ave,                              2672 SW 36th St,                                     7385 Bird Rd (40th St),
Orlando, FL 32827-7221                               Dania Beach, FL 33312-5005                           Miami, FL, 33155



(d)RB INTERNATIONAL SUPPLY CORP                      (d)Securities and Exchange Commission                (d)Sunz Insurance
7265 NW 44TH ST,                                     100 F. Street NE                                     1301 6th Ave W
MIAMI, FL 33166-6418                                 Washington, DC 20549-2001                            Bradenton, FL 34205-7410



(d)US FOODS                                          (d)VIA Design Studio                                 (d)WORKIVA
PO BOX 281838,                                       103 Westward Drive,                                  2900 University Blvd
BOCA RATON, FL, 30384-1838                           Miami, FL 33166-5257                                 Ames, IA 50010-8665



(d)White & Case                                      (d)Whitney White                                     (u)Richelle Kalnit
SE Financial Ctr Ste 4900                            100 Albert Way 08540                                 Hillco IP Services LLC
Miami, FL 33131
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End of Label Matrix
Mailable recipients   257
Bypassed recipients    27
Total                 284
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                                                   EXHIBIT A




                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION
                                      www.flsb.uscourts.gov
    In re:                                                      Chapter 11

    SHIFTPIXY, INC. et, al.4                                    Case No. 24-21209-LMI

          Debtors.                                              (Jointly Administered)
    _______________________________/

ORDER GRANTING EXPEDITED MOTION OF THE DEBTORS FOR THE ENTRY OF
         AN ORDER CONVERTING THE DEBTORS’ CHAPTER 11
    CASES TO CASES UNDER CHAPTER 7 OF THE BANKRUPTCY CODE

             THIS MATTER came before the Court, on December 16, 2024 at 9:30 a.m. for hearing

upon the Expedited Motion of the Debtors for the Entry of an Order Converting the Debtors’

Chapter 11 Cases to Cases Under Chapter 7 of the Bankruptcy Code [ECF No. ] (the “Motion”).

In the Motion, the Debtors request the entry of an order converting the Debtors’ Chapter 11 Cases


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 The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management, Inc.
The address of the Debtors is 1401 NW 25th Street, Miami, FL 33142.


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to cases under chapter 7 of the Bankruptcy Code. The Court finds that: (i) it has jurisdiction over

this matter pursuant to 28 U.S.C. §§ 157 and 1334; (ii) this is a core proceeding pursuant to 28

U.S.C. § 157(b)(2)(A); (iii) it may enter a final order consistent with Article III of the Constitution

of the United States; (iv) venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and

1409; (v) notice of the Motion and the Hearing were proper and sufficient under the circumstances

and no other or further notice is necessary; (vi) the relief requested in the Motion is in the best

interests of the Debtors, their estates, their creditors, and other parties in interest; (vii) since the

Chapter 11 Cases were not commenced as involuntary cases under chapter 11, nor have the Chapter

11 Cases been converted to cases under chapter 11, the Court finds that the Debtor are entitled to

be debtors under chapter 7; and (viii) upon review of the record before the Court, including the

legal and factual bases set forth in the Motion and the First Day Declaration, all of which are

incorporated herein, the Court determines that good and sufficient cause exists to grant the relief

requested in the Motion. Accordingly, it is

          ORDERED that:

          1.    The Motion is GRANTED.

          2.    The Debtors’ Chapter 11 Cases are converted to cases under chapter 7 of the

Bankruptcy Code.

          3.    The conversion is effective as of the date of the entry of this Order (the “Conversion

Date”).

          4.    If applicable, each of the Debtors shall immediately remit to the clerk of court the

$15.00 trustee surcharge fee prescribed by the Judicial Conference of the United States (if not

previously paid by the Debtors). Failure to pay this fee will result in dismissal of the Chapter 11

Cases.



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        5.     The U.S. Trustee is directed to appoint a chapter 7 trustee following the Conversion

Date.

        6.     The Debtors shall:

        a.     After the appointment of the chapter 7 trustee, forthwith turn over to the chapter 7
               trustee all records and property of the estate under the Debtors’ custody and control
               as required by Bankruptcy Rule 1019(4);

        b.     Within 30 days of the Conversion Date, file a schedule of all receipts and
               distributions made. A copy of this report must be served on the U.S. Trustee;

        c.     File, within 14 days of the Conversion Date, a schedule of unpaid debts incurred
               after the commencement of the Chapter 11 Cases as required by Bankruptcy Rule
               1019(5) and a supplemental matrix and certification in the format required by Local
               Rule 1019-1(B). The Debtors or Debtors’ attorney is required to provide notice to
               those creditors pursuant to Local Rule 1019-1(B). Failure to comply may also result
               in sanctions being imposed by the Court. Debts not listed or noticed timely will not
               be discharged. A copy of this schedule shall be served on the chapter 7 trustee; and

        d.     File, within 14 days of the date of the Conversion Date, the statements and
               schedules required by Bankruptcy Rule 1019(1)(A) and Bankruptcy Rule 1007(c)
               and in accordance with Local Rule 1019-1(B).

        7.     Pursuant to Local Rule 2016-1(C)(2), the Debtors’ attorney, counsel to the

Committee and any other professional person employed under 11 U.S.C. §327 or §1103 shall, file

within 90 days after the date of the post-conversion meeting, an application for compensation for

outstanding fees and expenses incurred during the chapter 11 administration including an

application justifying retention of any retainer received which has not been approved by a prior

award. Any retainers received which are not approved will be subject to turnover to the chapter 7

trustee. The attorney for the Debtors in possession shall notify all such professionals of this

deadline by serving them with a copy of this order.

        8.     The Debtors shall provide notice to affected parties of the deadline set pursuant to

Local Rule 1019-1(J)(1) for filing by a nongovernmental unit a request for payment of an

administrative expense.

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       9.      Failure of the Debtors to comply with the provisions of this Order may result in

dismissal of the chapter 7 cases without further hearing or notice.

       10.     The Court shall retain jurisdiction to hear and determine all matters arising from or

related to the implementation, interpretation and/or enforcement of this Order.

       11.     The Chief Restructuring Officer is authorized to pay any final fee applications to

the extent they are approved by the Court for DGIM Law, PLLC and the Chief Restructuring

Officer. In an amount not to exceed $215,000.00 in fees for DGIM Law, PLLC and $45,000.00 in

fees for the Chief Restructuring Officer. The approved expenses shall be paid in addition to the

foregoing sums.

                                                ###

Submitted by:
Isaac M. Marcushamer, Esq.
DGIM Law, PLLC
Counsel for the Debtors
2875 NE 191st Street, Suite 705
Aventura, FL 33180
Phone: (305) 763-8708
Email: isaac@dgimlaw.com

[Isaac M. Marcushamer, Esq. is directed to provide a copy of this signed Order to all parties of
record and to file a Certificate of Service conforming with Local Rule 2002-1(F), within 3 days of
entry of this Order]




                                                 11
